                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 In re:                                            Case No. 23-43287-mlo

 Atlas Systems, Inc.,                              Chapter 11 – Subchapter V

          Debtor.                                  Hon. Maria L. Oxholm
                                          /

  STIPULATION FOR ORDER EXTENDING TIME FOR THE UNITED
STATES TRUSTEE TO FILE OBJECTIONS TO DEBTOR’S CHAPTER 11,
         SUBCHAPTER V PLAN OF REORGANIZATION

          Andrew R. Vara, United States Trustee, and the Debtor, through its counsel

stipulate to entry of an order allowing the United States Trustee additional time for

filing his Objection to Debtor’s Chapter 11, Subchapter V Plan of Reorganization.

The United States Trustee has informally raised objections to the Debtor’s Plan. The

parties are continuing to discuss resolution of the informal objections. The deadline

for filing objections to the Plan is June 5, 2023. If the United States Trustee is unable

to resolve his objections with the Debtor, he will file a written objection no later than

4:00 p.m. on June 6, 2023.

 SCHAFER & WEINER PLLC                         ANDREW R. VARA
                                               UNITEDSTATES TRUSTEE
                                               Regions 3 and 9

 By: /s/ John J. Stockdale, Jr.                By: /s/ Jill M. Gies
 John J. Stockdale, Jr.                        Jill M. Gies (P56345)
 40950 Woodward Ave., Ste. 100                 Office of the U.S. Trustee
 Bloomfield Hills, MI 48304                    211 West Fort St - Suite 700
 Jstockdale@schaferandweiner.com               Detroit, Michigan 48226
 (248) 540-3340                                Jill.Gies@usdoj.gov
                                               (313) 226-7999



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Atlas Systems, Inc.,                                   Chapter 11 – Subchapter V

         Debtor.                                       Hon. Maria L. Oxholm
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 ORDER EXTENDING TIME FOR THE UNITED STATES TRUSTEE TO
  FILE OBJECTIONS TO DEBTOR’S CHAPTER 11, SUBCHAPTER V
                PLAN OF REORGANIZATION

         Andrew R. Vara, United States Trustee, and the Debtor, through its counsel

have stipulated to entry of this order allowing the United States Trustee additional

time for filing his Objection to Debtor’s Chapter 11, Subchapter V Plan of

Reorganization. The Court finds cause to enter this order.

         NOW THEREFORE:

         IT IS HEREBY ORDERED that the deadline for the United States Trustee to

file objections to the Debtor’s Chapter 11, Subchapter V Plan is extended to 4:00

p.m. June 6, 2023.




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